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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

FEDERAL TRADE COMMISSION,
                                             Case No. 2:22-cv-11120
             Plaintiff,
                                             Hon. Bernard A. Friedman
v.

FINANCIAL EDUCATION
SERVICES, INC., et al.,

              Defendants.

                    TEMPORARY RESTRAINING ORDER
      Plaintiff, the Federal Trade Commission (“FTC”), has filed its Complaint for

Permanent Injunction, Monetary Relief, and Other Relief pursuant to Sections

13(b) and 19 of the FTC Act, 15 U.S.C. §§ 53(b) and 57b, Section 410(b) of the

Credit Repair Organizations Act (“CROA”), 15 U.S.C. § 1679h(b), and Section

6(b) of the Telemarketing and Consumer Fraud and Abuse Prevention Act, 15

U.S.C. § 6105(b), and has moved, pursuant to Fed. R. Civ. P. 65(b), for a

temporary restraining order, asset freeze, appointment of receiver, and other

equitable relief.

                              FINDINGS OF FACT

      The Court, having considered the Complaint, the ex parte Motion for a

Temporary Restraining Order, declarations, exhibits, and the memorandum of




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points and authorities filed in support thereof, and being otherwise advised, finds

that:

A. This Court has jurisdiction over the subject matter of this case, and there is

   good cause to believe that it will have jurisdiction over all parties hereto and

   that venue in this district is proper.

B. There is good cause to believe that:

   1. in numerous instances, in connection with the marketing, telemarketing, and

        sale of credit repair services, Defendants have falsely represented that they

        can significantly improve consumers’ credit scores by, among other things,

        removing permanently negative information from consumers’ credit reports

        or profiles or adding positive payment history to consumers’ credit reports or

        profiles;

   2. in numerous, in connection with the marketing, telemarketing, and sale of

        credit repair services, Defendants have taken advanced fees for their credit

        repair services;

   3. in numerous instances, in connection with the marketing, telemarketing, and

        sale of credit repair services, Defendants have not made required disclosures

        regarding those services; and

   4. Defendants operated and promoted a marketing scheme in which they

        appear to have:



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      a. operating an illegal pyramid scheme;

      b. in numerous instances, falsely representing that consumers who become

         agents (“FES Agents”) to recruit new FES Agents will earn substantial

         income; and

      c. providing the means and instrumentalities for the commission of

         deceptive acts and practices by furnishing consumers with promotional

         materials to be used in marketing credit repair services and recruiting

         new FES Agents.

C. There is good cause to believe that Defendants have engaged in and are likely

   to engage in acts or practices that violate Section 5 of the FTC Act, 15 U.S.C.

   § 45, multiple provisions of CROA, 15 U.S.C. §§ 1679-1679l, and multiple

   provisions of the FTC’s Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310,

   and that the FTC is therefore likely to prevail on the merits of this action. As

   demonstrated by consumer declarations, consumer complaints, and the

   additional documentation filed by the FTC, the FTC has established a

   likelihood of success in showing that Defendants have made false, misleading,

   and deceptive representations regarding their credit repair services, taken illegal

   advance fees for those services, failed to make required disclosures regarding

   those services, operated an illegal pyramid scheme, made false, misleading, and

   deceptive representations regarding their investment opportunity, and provided



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   consumers with the means and instrumentalities to commit deceptive acts and

   practices.

D. There is good cause to believe that Defendants have taken in gross revenues of

   approximately $467 million as a result of their unlawful practices.

E. There is good cause to believe that immediate and irreparable harm will result

   from Defendants’ ongoing violations of the FTC Act, CROA, and the TSR

   unless Defendants are restrained and enjoined by order of this Court.

F. There is good cause to believe that immediate and irreparable damage to the

   Court’s ability to grant effective final relief for consumers—including

   rescission or reformation of contracts and the refund of money or return of

   property—will occur from the sale, transfer, destruction or other disposition or

   concealment by Defendants of their assets or records, unless Defendants are

   immediately restrained and enjoined by order of this Court; and that, in

   accordance with Fed. R. Civ. P. 65(b), the interests of justice require that this

   Order be granted without prior notice to Defendants. Thus, there is good cause

   for relieving the FTC of the duty to provide Defendants with prior notice of its

   Motion for a Temporary Restraining Order.

G. Good cause exists for appointing a temporary receiver over the Receivership

   Entities, freezing Defendants’ assets, permitting the FTC and the Receiver




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   immediate access to the Defendants’ business premises, and permitting the FTC

   and the Receiver to take expedited discovery.

H. Weighing the equities and considering the FTC’s likelihood of ultimate success

   on the merits, a temporary restraining order with an asset freeze, immediate

   access to business premises, expedited discovery, and other equitable relief is in

   the public interest.

I. This Court has authority to issue this Order pursuant to Section 13(b) of the

   FTC Act, 15 U.S.C. § 53(b); Federal Rule of Civil Procedure 65; and the All

   Writs Act, 28 U.S.C. § 1651.

J. No security is required of any agency of the United States for issuance of a

   temporary restraining order. Fed. R. Civ. P. 65(c).

                                  DEFINITIONS

      For the purpose of this Order, the following definitions shall apply:

A. “Asset” means any legal or equitable interest in, right to, or claim to, any

   property, wherever located and by whomever held.

B. “Consumer” means any Person.

C. “Corporate Defendants” means Financial Education Services, Inc., United

   Wealth Services, Inc., VR-Tech, LLC, VR-Tech Mgt, LLC, CM Rent Inc., and

   Youth Financial Literacy Foundation. and each of their subsidiaries, affiliates,

   successors, and assigns.



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D. “Credit Repair Service” means any service, in return for payment of money or

   other valuable consideration, for the express or implied purpose of: (1)

   improving any consumer’s credit report, credit record, credit history, credit

   profile, credit score, or credit rating; or (2) providing advice or assistance to any

   consumer with regard to any activity or service the purpose of which is to

   improve a consumer’s credit report, credit record, credit history, credit profile,

   credit score, or credit rating.

E. “Defendants” means Corporate Defendants and Individual Defendants,

   individually, collectively, or in any combination.

F. “Document” is synonymous in meaning and equal in scope to the usage of

   “document” and “electronically stored information” in Federal Rule of Civil

   Procedure 34(a), Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs,

   charts, photographs, sound and video recordings, images, Internet sites, web

   pages, websites, electronic correspondence, including e-mail and instant

   messages, contracts, accounting data, advertisements, FTP Logs, Server Access

   Logs, books, written or printed records, handwritten notes, telephone logs,

   telephone scripts, receipt books, ledgers, personal and business canceled checks

   and check registers, bank statements, appointment books, computer records,

   customer or sales databases and any other electronically stored information,

   including Documents located on remote servers or cloud computing systems,



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   and other data or data compilations from which information can be obtained

   directly or, if necessary, after translation into a reasonably usable form. A draft

   or non-identical copy is a separate document within the meaning of the term.

G. “Electronic Data Host” means any person or entity in the business of storing,

   hosting, or otherwise maintaining electronically stored information. This

   includes, but is not limited to, any entity hosting a website or server, and any

   entity providing “cloud based” electronic storage.

H. “Individual Defendants” means Parimal Naik, Michael Toloff, Christopher

   Toloff, and Gerald Thompson, individually, collectively, or in any combination.

I. “Marketing Program” includes, but is not limited to, any multi-level, affiliate,

   or network marketing program, business opportunity, pyramid marketing

   scheme, Ponzi scheme, or chain marketing scheme.

J. “Person” means a natural person, an organization or other legal entity,

   including a corporation, partnership, sole proprietorship, limited liability

   company, association, cooperative, or any other group or combination acting as

   an entity.

K. “Public Health and Safety Event” means (1) any public health or safety

   emergency announced or declared by any federal, state, or local governmental

   authority or (2) the existence of any order, regulation, or action by any federal,

   state, or local government authority relating to public health or safety governing



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     or otherwise restricting public or commercial activity, such as a quarantine or

     stay-at-home order.

 L. “Receiver” means the temporary receiver appointed in Section XII of this

     Order and any deputy receivers that shall be named by the temporary receiver.

 M. “Receivership Entities” means Corporate Defendants as well as any other

     entity that has conducted any business related to Defendants’ credit repair

     services or investment opportunity, including receipt of Assets derived from

     any activity that is the subject of the Complaint in this matter, and that the

     Receiver determines is controlled or owned by any Defendant.

                                        ORDER

                  PROHIBITED CREDIT REPAIR ACTIVITIES

I.   IT IS THEREFORE ORDERED that, until further order of this Court,

     Defendants, Defendants’ officers, agents, employees, and attorneys, and all

     other persons in active concert or participation with them, who receive actual

     notice of this Order by personal service or otherwise, whether acting directly or

     indirectly, in connection with the advertising, marketing, promoting, offering

     for sale, providing, or performing of any Credit Repair Service, are temporarily

     restrained and enjoined from:

     A. Misrepresenting or assisting others in misrepresenting, directly or indirectly,

        expressly or by implication:



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      1. That any Person can remove negative information or hard inquiries from

         any other Person’s credit report, credit record, credit history, credit

         profile;

      2. That any Person will report any other Person’s rent payment history or

         other positive payment history to any consumer reporting agency or any

         other Person;

      3. That any Person can substantially improve any other Person’s credit

         score or credit rating;

      4. That any Person is or was a victim of identity theft;

      5. That any Person is an additional authorized user on any other Person’s

         credit card or line of credit account;

      6. That any credit building product will substantially improve any Person’s

         credit score or credit rating; or

      7. Any other fact material to consumers concerning any Credit Repair

         Service, such as the total costs; any material restrictions, limitations, or

         conditions; or any material aspect of its performance, efficacy, nature, or

         central characteristics;

   B. Filing, causing to be filed, or encouraging any Person to file, with any other

      Person an identity theft report;




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    C. Charging or receiving money or other valuable consideration for the

       performance of any Credit Repair Service before such service is fully

       performed;

    D. Failing to provide any Person with a written statement of “Consumer Credit

       File Rights Under State and Federal Law,” in the form and manner required

       by Section 405(a) of CROA, 15 U.S.C. § 1679c(a);

    E. Failing to provide any Person with a written and dated contract which meets

       the requirements of Section 406(b) of CROA, 15 U.S.C. § 1679d(b);

    F. Failing to include in contracts for any Credit Repair Service the following

       required terms and conditions: (1) the terms and conditions of payment,

       including the total amount of all payments to be made by the consumer; (2) a

       full and detailed description of the services to be performed for the

       consumer, including all guarantees of performance and an estimate of the

       date by which the performance of the services (to be performed by

       Defendants or any other Person) will be complete or the length of the period

       necessary to perform such services, (3) the name and principal business

       address of Defendants or any other Person providing such services, and (4)

       the specific conspicuous statement in bold face type, in immediate proximity

       to the space reserved for the consumer’s signature on the contract, which

       reads as follows: “You may cancel this contract without penalty or



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         obligation at any time before midnight of the 3rd business day after the date

         on which you signed the contract. See the attached notice of cancellation

         form for an explanation of this right.”

      G. Failing to provide any Person with a separate form with the heading “Notice

         of Cancellation,” in the form and manner required by Section 407(b) of

         CROA, 15 U.S.C. § 1679e(b); and

      H. Failing to provide any Person with a copy of a completed contract and all

         disclosures required under CROA and a copy of any other document such

         Person is required to sign.

              PROHIBITED MARKETING PROGRAM ACTIVITIES

II.   IT IS FURTHER ORDERED that, until further order of this Court,

      Defendants, Defendants’ officers, agents, employees, and attorneys, and all

      other persons in active concert or participation with them, who receive actual

      notice of this Order by personal service or otherwise, whether acting directly or

      indirectly, in connection with the advertising, marketing, promoting, or offering

      for sale of any Marketing Program, are temporarily restrained and enjoined

      from:

      A. Engaging in, participating in, assisting others, or providing others with the

         means and instrumentalities to engage or participate in, any Marketing

         Program that:



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       1. Pays compensation for recruiting new members;

       2. Encourages, incentivizes, or requires members to purchase goods or

          services to obtain or maintain eligibility for bonuses, rewards, or

          commissions;

       3. Induces others to encourage or incentivize members to purchase goods or

          services to obtain or maintain eligibility for bonuses, rewards, or

          commissions;

       4. Pays any compensation related to the purchase or sale of goods or

          services unless such compensation is for sales to or purchases by persons

          who are not members of the Marketing Program and who are not being

          recruited to become members of the Marketing Program;

       5. Fails to monitor and take all reasonable steps necessary to ensure than

          any compensation paid is for sales to or purchases by persons who are

          not members of the Marketing Program and who are not being recruited

          to become members of the Marketing Program;

       6. Constitutes a pyramid scheme or chain marketing scheme;

    B. Misrepresenting or assisting others in misrepresenting, directly or indirectly,

       expressly or by implication:

       1. that consumers who participate in any Marketing Program will receive or

          are likely to receive substantial income; or



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          2. Any other fact material to consumers concerning any Marketing

             Program, such as the total costs; any material restrictions, limitations, or

             conditions; or any material aspect of its performance, efficacy, nature, or

             central characteristics.

         PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

III.   IT IS FURTHER ORDERED that, until further order of this Court,

       Defendants, Defendants’ officers, agents, employees, and attorneys, and all

       other persons in active concert or participation with any of them, who receive

       actual notice of this Order, whether acting directly or indirectly, are hereby

       temporarily restrained and enjoined from:

       A. Selling, renting, leasing, transferring, or otherwise disclosing, the name,

          address, birth date, telephone number, email address, credit card number,

          bank account number, Social Security number, or other financial or

          identifying information of any person that any Defendant obtained in

          connection with any activity that pertains to the subject matter of this Order;

          and

       B. Benefitting from or using the name, address, birth date, telephone number,

          email address, credit card number, bank account number, Social Security

          number, or other financial or identifying information of any person that any




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         Defendant obtained in connection with any activity that pertains to the

         subject matter of this Order.

      C. Provided, however, that Defendants may disclose such identifying

         information to a law enforcement agency, to their attorneys as required for

         their defense, as required by any law, regulation, or court order, or in any

         filings, pleadings or discovery in this action in the manner required by the

         Federal Rules of Civil Procedure and by any protective order in the case.

                                    ASSET FREEZE

IV.   IT IS FURTHER ORDERED that, until further order of this Court,

      Defendants and their officers, agents, employees, and attorneys, and all other

      persons in active concert or participation with any of them, who receive actual

      notice of this Order, whether acting directly or indirectly, are hereby

      temporarily restrained and enjoined from:

      A. Transferring, liquidating, converting, encumbering, pledging, loaning,

         selling, concealing, dissipating, disbursing, assigning, relinquishing,

         spending, withdrawing, granting a lien or security interest or other interest

         in, or otherwise disposing of any Assets that are:

         1. owned or controlled, directly or indirectly, by any Defendant;

         2. held, in part or in whole, for the benefit of any Defendant;

         3. in the actual or constructive possession of any Defendant; or



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       4. owned or controlled by, in the actual or constructive possession of, or

          otherwise held for the benefit of, any corporation, partnership, asset

          protection trust, or other entity that is directly or indirectly owned,

          managed or controlled by any Defendant.

    B. Opening or causing to be opened any safe deposit boxes, commercial mail

       boxes, or storage facilities titled in the name of any Defendant or subject to

       access by any Defendant;

    C. Incurring charges or cash advances on any credit, debit, or ATM card issued

       in the name, individually or jointly, of any Corporate Defendant or any

       corporation, partnership, or other entity directly or indirectly owned,

       managed, or controlled by any Defendant or of which any Defendant is an

       officer, director, member, or manager. This includes any corporate bankcard

       or corporate credit card account for which any Defendant is, or was on the

       date that this Order was signed, an authorized signor; or

    D. Cashing any checks or depositing any money orders or cash received from

       consumers, clients, or customers of any Defendant.

    E. The Assets affected by this Section shall include: (1) all Assets of

       Defendants as of the time this Order is entered; and (2) Assets obtained by

       Defendants after this Order is entered if those Assets are derived from any

       activity that is the subject of the Complaint in this matter or that is



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        prohibited by this Order. This Section does not prohibit any repatriation of

        foreign Assets specifically required by this order.

        DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

V.   IT IS FURTHER ORDERED that, until further order of this Court, any

     financial or brokerage institution, Electronic Data Host, credit card processor,

     payment processor, merchant bank, acquiring bank, independent sales

     organization, third party processor, payment gateway, insurance company,

     business entity, or person who receives actual notice of this Order (by service or

     otherwise) that: (a) has held, controlled, or maintained custody, through an

     account or otherwise, of any Document on behalf of any Defendant or any

     Asset that has been owned or controlled, directly or indirectly, by any

     Defendant; held, in part or in whole, for the benefit of any Defendant; in the

     actual or constructive possession of any Defendant; or owned or controlled by,

     in the actual or constructive possession of, or otherwise held for the benefit of,

     any corporation, partnership, asset protection trust, or other entity that is

     directly or indirectly owned, managed or controlled by any Defendant; (b) has

     held, controlled, or maintained custody, through an account or otherwise, of any

     Document or Asset associated with credits, debits, or charges made on behalf of

     any Defendant, including reserve funds held by payment processors, credit card

     processors, merchant banks, acquiring banks, independent sales organizations,



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    third party processors, payment gateways, insurance companies, or other

    entities; or (c) has extended credit to any Defendant, including through a credit

    card account, shall:

    A. Hold, preserve, and retain within its control and prohibit the withdrawal,

       removal, alteration, assignment, transfer, pledge, encumbrance,

       disbursement, dissipation, relinquishment, conversion, sale, or other disposal

       of any such Document or Asset, as well as all Documents or other property

       related to such Assets, except by further order of this Court or as directed in

       writing by the Receiver regarding Assets or Documents owned by, held in

       the name of, for the benefit of, or otherwise controlled by any Receivership

       Entity; provided, however, that this provision does not prohibit an Individual

       Defendant from incurring charges on a personal credit card established prior

       to entry of this Order, up to the pre-existing credit limit;

    B. Deny any person except the Receiver access to any safe deposit box,

       commercial mail box, or storage facility that is titled in the name of any

       Defendant, either individually or jointly, or otherwise subject to access by

       any Defendant;

    C. Provide FTC counsel and the Receiver, within three (3) days of receiving a

       copy of this Order, a sworn statement setting forth, for each Asset or account

       covered by this Section:



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       1. The identification number of each such account or Asset;

       2. The balance of each such account, or a description of the nature and

          value of each such Asset as of the close of business on the day on which

          this Order is served, and, if the account or other Asset has been closed or

          removed, the date closed or removed, the total funds removed in order to

          close the account, and the name of the person or entity to whom such

          account or other Asset was remitted; and

       3. The identification of any safe deposit box, commercial mail box, or

          storage facility that is either titled in the name, individually or jointly, of

          any Defendant, or is otherwise subject to access by any Defendant; and

    D. Upon the request of the Receiver, promptly provide him with copies of all

       records or other Documents pertaining to any account covered by this

       Section or Asset, including originals or copies of account applications,

       account statements, signature cards, checks, drafts, deposit tickets, transfers

       to and from the accounts, including wire transfers and wire transfer

       instructions, all other debit and credit instruments or slips, currency

       transaction reports, 1099 forms, and all logs and records pertaining to safe

       deposit boxes, commercial mail boxes, and storage facilities.

    E. Provided, however, that this Section does not prohibit any repatriation of

       foreign Assets specifically required by this order.



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                 FINANCIAL DISCLOSURES AND ACCOUNTING

VI.    IT IS FURTHER ORDERED that each Defendant, within five (5) days of

       service of this Order upon them, shall prepare and deliver to FTC counsel and

       the Receiver:

       A. Completed financial statements on the forms attached to this Order as

          Attachment A (Financial Statement of Individual Defendant) for Individual

          Defendant, and Attachment B (Financial Statement of Corporate

          Defendant) for Corporate Defendant;

       B. Completed Attachment C (IRS Form 4506, Request for Copy of a Tax

          Return) for each Defendant; and

                         FOREIGN ASSET REPATRIATION

VII.   IT IS FURTHER ORDERED that within five (5) days following the service

       of this Order, each Defendant shall:

       A. Provide the Receiver with a full accounting, verified under oath and accurate

          as of the date of this Order, of all Assets, Documents, and accounts outside

          of the United States which are: (1) titled in the name, individually or jointly,

          of any Defendant; (2) held by any person or entity for the benefit of any

          Defendant or for the benefit of, any corporation, partnership, asset protection

          trust, or other entity that is directly or indirectly owned, managed or




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           controlled by any Defendant; or (3) under the direct or indirect control,

           whether jointly or singly, of any Defendant;

        B. Take all steps necessary to provide FTC counsel access to all Documents

           and records that may be held by third parties located outside of the territorial

           United States of America, including signing the Consent to Release of

           Financial Records appended to this Order as Attachment D.

        C. Transfer to the territory of the United States and all Documents and Assets

           located in foreign countries which are: (1) titled in the name, individually or

           jointly, of any Defendant; (2) held by any person or entity for the benefit of

           any Defendant or for the benefit of, any corporation, partnership, asset

           protection trust, or other entity that is directly or indirectly owned, managed

           or controlled by any Defendant; or (3) under the direct or indirect control,

           whether jointly or singly, of any Defendant; and

        D. The same business day as any repatriation, (1) notify FTC counsel of the

           name and location of the financial institution or other entity that is the

           recipient of such Documents or Assets; and (2) serve this Order on any such

           financial institution or other entity.

                    NON-INTERFERENCE WITH REPATRIATION

VIII.   IT IS FURTHER ORDERED that, until further order of this Court,

        Defendants, Defendants’ officers, agents, employees, and attorneys, and all



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      other persons in active concert or participation with any of them, who receive

      actual notice of this Order, whether acting directly or indirectly, are hereby

      temporarily restrained and enjoined from taking any action, directly or

      indirectly, which may result in the encumbrance or dissipation of foreign

      Assets, or in the hindrance of the repatriation required by this Order, including,

      but not limited to:

      A. Sending any communication or engaging in any other act, directly or

         indirectly, that results in a determination by a foreign trustee or other entity

         that a “duress” event has occurred under the terms of a foreign trust

         agreement until such time that all Defendants’ Assets have been fully

         repatriated pursuant to this Order; or

      B. Notifying any trustee, protector or other agent of any foreign trust or other

         related entities of either the existence of this Order, or of the fact that

         repatriation is required pursuant to a court order, until such time that all

         Defendants’ Assets have been fully repatriated pursuant to this Order.

                            CONSUMER CREDIT REPORTS

IX.   IT IS FURTHER ORDERED that the FTC may obtain credit reports

      concerning any Defendants pursuant to Section 604(a)(1) of the Fair Credit

      Reporting Act, 15 U.S.C. 1681b(a)(1), and that, upon written request, any credit




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     reporting agency from which such reports are requested shall provide them to

     the FTC.

                          PRESERVATION OF RECORDS

X.   IT IS FURTHER ORDERED that, until further order of this Court,

     Defendants, Defendants’ officers, agents, employees, and attorneys, and all

     other persons in active concert or participation with any of them, who receive

     actual notice of this Order, whether acting directly or indirectly, are hereby

     temporarily restrained and enjoined from:

     A. Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

        transferring, or otherwise disposing of, in any manner, directly or indirectly,

        Documents that relate to: (1) the business, business practices, Assets, or

        business or personal finances of any Defendant; (2) the business practices or

        finances of entities directly or indirectly under the control of any Defendant;

        or (3) the business practices or finances of entities directly or indirectly

        under common control with any other Defendant; and

     B. Failing to create and maintain Documents that, in reasonable detail,

        accurately, fairly, and completely reflect Defendants’ incomes,

        disbursements, transactions, and use of Defendants’ Assets.




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                      REPORT OF NEW BUSINESS ACTIVITY

XI.    IT IS FURTHER ORDERED that, until further order of this Court,

       Defendants, Defendants’ officers, agents, employees, and attorneys, and all

       other persons in active concert or participation with any of them, who receive

       actual notice of this Order, whether acting directly or indirectly, are hereby

       temporarily restrained and enjoined from creating, operating, or exercising any

       control over any business entity, whether newly formed or previously inactive,

       including any partnership, limited partnership, joint venture, sole

       proprietorship, or corporation, without first providing FTC counsel with a

       written statement disclosing: (1) the name of the business entity; (2) the

       address and telephone number of the business entity; (3) the names of the

       business entity’s officers, directors, principals, managers, and employees; and

       (4) a detailed description of the business entity’s intended activities.

                   APPOINTMENT OF TEMPORARY RECEIVER

XII.   IT IS FURTHER ORDERED that Patrick A. Miles, Jr. is appointed as

       temporary receiver of the Receivership Entities with full powers of an equity

       receiver. The Receiver shall be solely the agent of this Court in acting as

       Receiver under this Order.




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                    DUTIES AND AUTHORITIES OF RECEIVER

XIII.   IT IS FURTHER ORDERED that the Receiver is directed and authorized to

        accomplish the following:

        A. Assume full control of Receivership Entities by removing, as the Receiver

           deems necessary or advisable, any director, officer, independent contractor,

           employee, attorney, or agent of any Receivership Entity from control of,

           management of, or participation in, the affairs of the Receivership Entity;

        B. Take exclusive custody, control, and possession of all Assets and

           Documents of, or in the possession, custody, or under the control of, any

           Receivership Entity, wherever situated;

        C. Take exclusive custody, control, and possession of all Documents or Assets

           associated with credits, debits, or charges made on behalf of any

           Receivership Entity, wherever situated, including reserve funds held by

           payment processors, credit card processors, merchant banks, acquiring

           banks, independent sales organizations, third party processors, payment

           gateways, insurance companies, or other entities;

        D. Conserve, hold, manage, and prevent the loss of all Assets of the

           Receivership Entities, and perform all acts necessary or advisable to

           preserve the value of those Assets. The Receiver shall assume control over

           the income and profits therefrom and all sums of money now or hereafter



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       due or owing to the Receivership Entities. The Receiver shall have full

       power to sue for, collect, and receive, all Assets of the Receivership Entities

       and of other persons or entities whose interests are now under the direction,

       possession, custody, or control of, the Receivership Entities. Provided,

       however, that the Receiver shall not attempt to collect any amount from a

       consumer if the Receiver believes the consumer’s debt to the Receivership

       Entities has resulted from the deceptive acts or practices or other violations

       of law alleged in the Complaint in this matter, without prior Court approval;

    E. Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

       Receivership Entities, and perform all acts necessary or advisable to

       preserve such Documents. The Receiver shall: divert mail; preserve all

       Documents of the Receivership Entities that are accessible via electronic

       means (such as online access to financial accounts and access to electronic

       documents held onsite or by Electronic Data Hosts, by changing usernames,

       passwords or other log-in credentials; take possession of all electronic

       Documents of the Receivership Entities stored onsite or remotely; take

       whatever steps necessary to preserve all such Documents; and obtain the

       assistance of the FTC’s Digital Forensic Unit, or retain an expert, for the

       purpose of obtaining electronic documents stored onsite or remotely.




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    F. Choose, engage, and employ attorneys, accountants, appraisers, and other

       independent contractors and technical specialists, as the Receiver deems

       advisable or necessary in the performance of duties and responsibilities

       under the authority granted by this Order;

    G. Make payments and disbursements from the receivership estate that are

       necessary or advisable for carrying out the directions of, or exercising the

       authority granted by, this Order, and to incur, or authorize the making of,

       such agreements as may be necessary and advisable in discharging his or her

       duties as Receiver. The Receiver shall apply to the Court for prior approval

       of any payment of any debt or obligation incurred by the Receivership

       Entities prior to the date of entry of this Order, except payments that the

       Receiver deems necessary or advisable to secure Assets of the Receivership

       Entities, such as rental payments;

    H. Take all steps necessary to secure and take exclusive custody of each

       location from which the Receivership Entities operate their businesses. Such

       steps may include, but are not limited to, any of the following, as the

       Receiver deems necessary or advisable: (1) securing the location by

       changing the locks and alarm codes and disconnecting any internet access or

       other means of access to the computers, servers, internal networks, or other

       records maintained at that location; and (2) requiring any persons present at



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       the location to leave the premises, to provide the Receiver with proof of

       identification, and/or to demonstrate to the satisfaction of the Receiver that

       such persons are not removing from the premises Documents or Assets of

       the Receivership Entities. Law enforcement personnel, including, but not

       limited to, police or sheriffs, may assist the Receiver in implementing these

       provisions in order to keep the peace and maintain security. If requested by

       the Receiver, the United States Marshal will provide appropriate and

       necessary assistance to the Receiver to implement this Order and is

       authorized to use any necessary and reasonable force to do so;

    I. Take all steps necessary to prevent the modification, destruction, or erasure

       of any web page or website registered to and operated, in whole or in part,

       by any Defendants, and to provide access to all such web page or websites to

       the FTC’s representatives, agents, and assistants, as well as Defendants and

       their representatives;

    J. Enter into and cancel contracts and purchase insurance as advisable or

       necessary;

    K. Prevent the inequitable distribution of Assets and determine, adjust, and

       protect the interests of consumers who have transacted business with the

       Receivership Entities;




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    L. Make an accounting, as soon as practicable, of the Assets and financial

       condition of the receivership and file the accounting with the Court and

       deliver copies thereof to all parties;

    M. Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or

       otherwise become party to any legal action in state, federal or foreign courts

       or arbitration proceedings as the Receiver deems necessary and advisable to

       preserve or recover the Assets of the Receivership Entities, or to carry out

       the Receiver’s mandate under this Order, including but not limited to,

       actions challenging fraudulent or voidable transfers;

    N. Issue subpoenas to obtain Documents and records pertaining to the

       Receivership, and conduct discovery in this action on behalf of the

       receivership estate, in addition to obtaining other discovery as set forth in

       this Order;

    O. Open one or more bank accounts at designated depositories for funds of the

       Receivership Entities. The Receiver shall deposit all funds of the

       Receivership Entities in such designated accounts and shall make all

       payments and disbursements from the receivership estate from such

       accounts. The Receiver shall serve copies of monthly account statements on

       all parties;




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    P. Maintain accurate records of all receipts and expenditures incurred as

       Receiver;

    Q. Allow the FTC’s representatives, agents, and assistants, as well as

       Defendants’ representatives and Defendants themselves, reasonable access

       to the premises of the Receivership Entities, or any other premises where the

       Receivership Entities conduct business. The purpose of this access shall be

       to inspect and copy any and all books, records, Documents, accounts, and

       other property owned by, or in the possession of, the Receivership Entities

       or their agents. The Receiver shall have the discretion to determine the time,

       manner, and reasonable conditions of such access;

    R. Allow the FTC’s representatives, agents, and assistants, as well as

       Defendants and their representatives reasonable access to all Documents in

       the possession, custody, or control of the Receivership Entities;

    S. Cooperate with reasonable requests for information or assistance from any

       state or federal civil or criminal law enforcement agency;

    T. Suspend business operations of the Receivership Entities if in the judgment

       of the Receiver such operations cannot be continued legally and profitably;

    U. If the Receiver identifies a nonparty entity as a Receivership Entity,

       promptly notify the entity as well as the parties, and inform the entity that it

       can challenge the Receiver’s determination by filing a motion with the



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       Court. Provided, however, that the Receiver may delay providing such

       notice until the Receiver has established control of the nonparty entity and

       its assets and records, if the Receiver determines that notice to the entity or

       the parties before the Receiver establishes control over the entity may result

       in the destruction of records, dissipation of assets, or any other obstruction

       of the Receiver’s control of the entity; and

    V. If in the Receiver’s judgment the business operations cannot be continued

       legally and profitably, take all steps necessary to ensure that any of the

       Receivership Entities’ web pages or websites relating to the activities

       alleged in the Complaint cannot be accessed by the public, or are modified

       for consumer education and/or informational purposes, and take all steps

       necessary to ensure that any telephone numbers associated with the

       Receivership Entities cannot be accessed by the public, or are answered

       solely to provide consumer education or information regarding the status of

       operations.

    W. Provided, however, that the Receiver may delay undertaking any of the

       duties set forth in this Section XV to the extent that the Receiver determines

       that a Public Health or Safety Event prevents the Receiver from undertaking

       such duties safely; and provided, further, that any such delay shall not be

       deemed a failure of the Receiver to exercise his or her obligations.



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            TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

XIV.   IT IS FURTHER ORDERED that Defendants and any other person, with

       possession, custody or control of property of, or records relating to, the

       Receivership Entities shall, upon notice of this Order by personal service or

       otherwise, fully cooperate with and assist the Receiver in taking and

       maintaining possession, custody, or control of the Assets and Documents of the

       Receivership Entities and immediately transfer or deliver to the Receiver

       possession, custody, and control of, the following:

       A. All Assets held by or for the benefit of the Receivership Entities;

       B. All Documents or Assets associated with credits, debits, or charges made on

          behalf of any Receivership Entity, wherever situated, including reserve

          funds held by payment processors, credit card processors, merchant banks,

          acquiring banks, independent sales organizations, third party processors,

          payment gateways, insurance companies, or other entities;

       C. All Documents of or pertaining to the Receivership Entities;

       D. All computers, electronic devices, mobile devices and machines used to

          conduct the business of the Receivership Entities;

       E. All Assets and Documents belonging to other persons or entities whose

          interests are under the direction, possession, custody, or control of the

          Receivership Entities; and


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      F. All keys, codes, user names and passwords necessary to gain or to secure

         access to any Assets or Documents of or pertaining to the Receivership

         Entities, including access to their business premises, means of

         communication, accounts, computer systems (onsite and remote), Electronic

         Data Hosts, or other property.

      G. In the event that any person or entity fails to deliver or transfer any Asset or

         Document, or otherwise fails to comply with any provision of this Section,

         the Receiver may file an Affidavit of Non-Compliance regarding the failure

         and a motion seeking compliance or a contempt citation.

                   PROVISION OF INFORMATION TO RECEIVER

XV.   IT IS FURTHER ORDERED that Defendants shall immediately provide to

      the Receiver:

      A. A list of all Assets and accounts of the Receivership Entities that are held in

         any name other than the name of a Receivership Entity, or by any person or

         entity other than a Receivership Entity;

      B. A list of all agents, employees, officers, attorneys, servants and those

         persons in active concert and participation with the Receivership Entities, or

         who have been associated or done business with the Receivership Entities;

         and




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       C. A description of any documents covered by attorney-client privilege or

          attorney work product, including files where such documents are likely to be

          located, authors or recipients of such documents, and search terms likely to

          identify such electronic documents.

                       COOPERATION WITH THE RECEIVER

XVI.   IT IS FURTHER ORDERED that Defendants; Receivership Entities;

       Defendants’ or Receivership Entities’ officers, agents, employees, and

       attorneys, all other persons in active concert or participation with any of them,

       and any other person with possession, custody, or control of property of or

       records relating to the Receivership entities who receive actual notice of this

       Order shall fully cooperate with and assist the Receiver. This cooperation and

       assistance shall include, but is not limited to, providing information to the

       Receiver that the Receiver deems necessary to exercise the authority and

       discharge the responsibilities of the Receiver under this Order; providing any

       keys, codes, user names and passwords required to access any computers,

       electronic devices, mobile devices, and machines (onsite or remotely) and any

       cloud account (including specific method to access account) or electronic file in

       any medium; advising all persons who owe money to any Receivership Entity

       that all debts should be paid directly to the Receiver; and transferring funds at




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        the Receiver’s direction and producing records related to the Assets and sales of

        the Receivership Entities.

                    NON-INTERFERENCE WITH THE RECEIVER

XVII.   IT IS FURTHER ORDERED that, until further order of this Court,

        Defendants; Receivership Entities; Defendants’ or Receivership Entities’

        officers, agents, employees, attorneys, and all other persons in active concert or

        participation with any of them, who receive actual notice of this Order, and any

        other person served with a copy of this Order, are hereby restrained and

        enjoined from directly or indirectly:

        A. Interfering with the Receiver’s efforts to manage, or take custody, control, or

           possession of, the Assets or Documents subject to the receivership;

        B. Transacting any of the business of the Receivership Entities;

        C. Transferring, receiving, altering, selling, encumbering, pledging, assigning,

           liquidating, or otherwise disposing of any Assets owned, controlled, or in the

           possession or custody of, or in which an interest is held or claimed by, the

           Receivership Entities; or

        D. Refusing to cooperate with the Receiver or the Receiver’s duly authorized

           agents in the exercise of their duties or authority under any order of this

           Court.




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                                    STAY OF ACTIONS

XVIII.   IT IS FURTHER ORDERED that:

           A. Except by leave of this Court, during the pendency of the receivership

              ordered herein, Defendants, Defendants’ officers, agents, employees,

              attorneys, and all other persons in active concert or participation with any

              of them, who receive actual notice of this Order, and their corporations,

              subsidiaries, divisions, or affiliates, and all investors, creditors,

              stockholders, lessors, customers and other persons seeking to establish or

              enforce any claim, right, or interest against or on behalf of Defendants,

              and all others acting for or on behalf of such persons, are hereby enjoined

              from taking action that would interfere with the exclusive jurisdiction of

              this Court over the Assets or Documents of the Receivership Entities,

              including, but not limited to:

              1. Filing or assisting in the filing of a petition for relief under the

                 Bankruptcy Code, 11 U.S.C. § 101 et seq., or of any similar

                 insolvency proceeding on behalf of the Receivership Entities;

              2. Commencing, prosecuting, or continuing a judicial, administrative, or

                 other action or proceeding against the Receivership Entities, including

                 the issuance or employment of process against the Receivership




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             Entities, except that such actions may be commenced if necessary to

             toll any applicable statute of limitations; or

          3. Filing or enforcing any lien on any asset of the Receivership Entities,

             taking or attempting to take possession, custody, or control of any

             Asset of the Receivership Entities; or attempting to foreclose, forfeit,

             alter, or terminate any interest in any Asset of the Receivership

             Entities, whether such acts are part of a judicial proceeding, are acts of

             self-help, or otherwise; or

       B. The Receiver and his agents acting within the scope of such agency

          (“Retained Personnel”) are entitled to rely on all outstanding rules of law

          and orders of this Court and shall not be liable to anyone for their own

          good faith compliance with any order, rule, law, judgment, or decree. In

          no event shall the Receiver or any Retained Personnel be liable to anyone

          for their acts or omissions or their good faith compliance with their duties

          and responsibilities, except as a result of a finding by this Court that they

          acted or failed to act as a result of malfeasance, bad faith, gross

          negligence or in reckless disregard of their duties. Any party, person, or

          entity (except the FTC) seeking recovery from the Receiver or any

          Retained Personnel for conduct in the course of the administration of the

          estate must first obtain leave from this Court. This Court shall retain



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             jurisdiction over any action filed against the Receiver or any Retained

             Personnel based upon acts or omissions committed in their representative

             capacities.

          C. Provided, however, that this Order does not stay: (1) the commencement

             or continuation of a criminal action or proceeding; (2) the

             commencement or continuation of an action or proceeding by a

             governmental unit to enforce such governmental unit’s police or

             regulatory power; or (3) the enforcement of a judgment, other than a

             money judgment, obtained in an action or proceeding by a governmental

             unit to enforce such governmental unit’s police or regulatory power.

                           COMPENSATION OF RECEIVER

XIX.   IT IS FURTHER ORDERED that the Receiver and all personnel hired by the

       Receiver as herein authorized, including counsel to the Receiver and

       accountants, are entitled to reasonable compensation for the performance of

       duties pursuant to this Order and for the cost of actual out-of-pocket expenses

       incurred by them, from the Assets now held by, in the possession or control of,

       or which may be received by, the Receivership Entities. The Receiver shall file

       with the Court and serve on the parties periodic requests for the payment of

       such reasonable compensation, with the first such request filed no more than

       sixty (60) days after the date of entry of this Order. The Receiver shall not



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       increase the hourly rates used as the bases for such fee applications without

       prior approval of the Court.

                                   RECEIVER’S BOND

XX.    IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this

       Court a bond in the sum of $10,000 with sureties to be approved by the Court,

       conditioned that the Receiver will well and truly perform the duties of the office

       and abide by and perform all acts the Court directs. 28 U.S.C. § 754.

                                 RECEIVER’S REPORTS

XXI.   IT IS FURTHER ORDERED that the Receiver shall report to this Court on or

       before any date set for a hearing on whether a Preliminary Injunction should

       issue, regarding (1) the steps taken by the Receiver to implement the terms of

       this Order; (2) the value of all liquidated and unliquidated assets of the

       Receivership Entities; (3) the sum of all liabilities of the Receivership Entities;

       (4) the steps the Receiver intends to take in the future to (a) prevent any

       diminution in the value of assets of the Receivership Entities, (b) pursue

       receivership assets from third parties, and (c) adjust the liabilities of the

       Receivership Entities, if appropriate; (5) whether the business of the

       Receivership Entities can be operated lawfully and profitably; and (6) any other

       matters that the Receiver believes should be brought to the Court’s attention.

       Provided, however, that if any of the required information would hinder the


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        Receiver’s ability to pursue receivership assets, the portions of the Receiver’s

        report containing such information may be filed under seal and not served on

        the parties.

         IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

XXII.   IT IS FURTHER ORDERED that:

        A. In order to allow the FTC and the Receiver to preserve Assets and evidence

           relevant to this action and to expedite discovery and unless the FTC or

           Receiver determines that a Public Health or Safety Event makes it unsafe for

           the FTC or the Receiver to do so, the FTC and the Receiver, and their

           representatives, agents, contractors, and assistants, shall have immediate

           access to the business premises and storage facilities, owned, controlled, or

           used by the Receivership Entities. Such locations include, but are not

           limited to, 37735 Enterprise Court, Farmington Hills, Michigan, and any

           offsite location or commercial mailbox used by the Receivership Entities.

           The Receiver may exclude Defendants, Receivership Entities, and their

           employees from the business premises during the immediate access.

        B. In the event of a Public Health or Safety Event, the Receiver may, if the

           Receiver determines it safe to do so, enter any of Defendants’ business

           premises after business hours. Any landlord, management office, security

           office, or any other Person that controls access to any such business



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       premises shall, immediately upon receiving notice of this order, cooperate

       with the Receiver and take whatever steps necessary to allow the Receiver

       access to such business premises after business hours; and such Persons are

       prohibited from notifying Defendants of the existence of this Order or the

       Receiver’s entry into the business premises until the Receiver has notified

       such Persons in writing that the Receiver has secured such business

       premises.

    C. The FTC and the Receiver, and their representatives, agents, contractors, and

       assistants, are authorized to remove Documents from the Receivership

       Entities’ premises in order that they may be inspected, inventoried, and

       copied. The FTC shall return any removed materials to the Receiver within

       five (5) business days of completing inventorying and copying, or such time

       as is agreed upon by the FTC and the Receiver;

    D. The FTC’s access to the Receivership Entities’ documents pursuant to this

       Section shall not provide grounds for any Defendant to object to any

       subsequent request for documents served by the FTC.

    E. The FTC and the Receiver, and their representatives, agents, contractors, and

       assistants, are authorized to obtain the assistance of federal, state and local

       law enforcement officers as they deem necessary to effect service and to

       implement peacefully the provisions of this Order;



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    F. If any Documents, computers, or electronic storage devices containing

       information related to the business practices or finances of the Receivership

       Entities are at a location other than those listed herein, including personal

       residence(s) of any Defendant, then, immediately upon receiving notice of

       this order, Defendants and Receivership Entities shall produce to the

       Receiver all such Documents, computers, and electronic storage devices,

       along with any codes or passwords needed for access. In order to prevent

       the destruction of computer data, upon service of this Order, any such

       computers or electronic storage devices shall be powered down in the

       normal course of the operating system used on such devices and shall not be

       powered up or used until produced for copying and inspection. Defendants

       are precluded from introducing in any proceeding in this case any Document

       not so produced.

    G. If any communications or records of any Receivership Entity are stored with

       an Electronic Data Host, such Entity shall, immediately upon receiving

       notice of this order, provide the Receiver with the username, passwords, and

       any other login credential needed to access the communications and records,

       and shall not attempt to access, or cause a third-party to attempt to access,

       the communications or records.




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                     DISTRIBUTION OF ORDER BY DEFENDANTS

XXIII.   IT IS FURTHER ORDERED that Defendants shall immediately provide a

         copy of this Order to each affiliate, telemarketer, marketer, sales entity,

         successor, assign, member, officer, director, employee, agent, independent

         contractor, client, attorney, spouse, subsidiary, division, and representative of

         any Defendant, and shall, within ten (10) days from the date of entry of this

         Order, and provide FTC counsel and the Receiver with a sworn statement that

         this provision of the Order has been satisfied, which statement shall include the

         names, physical addresses, phone number, and email addresses of each such

         person or entity who received a copy of the Order. Furthermore, Defendants

         shall not take any action that would encourage officers, agents, members,

         directors, employees, salespersons, independent contractors, attorneys,

         subsidiaries, affiliates, successors, assigns or other persons or entities in active

         concert or participation with them to disregard this Order or believe that they

         are not bound by its provisions.

                                  EXPEDITED DISCOVERY

XXIV.    IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed.

         R. Civ. P. 26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P.

         30(a), 34, and 45, the FTC and the Receiver are granted leave, at any time after

         service of this Order, to conduct limited expedited discovery for the purpose of



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       discovering: (1) the nature, location, status, and extent of Defendants’ Assets;

       (2) the nature, location, and extent of Defendants’ business transactions and

       operations; (3) Documents reflecting Defendants’ business transactions and

       operations; or (4) compliance with this Order.

                                 SERVICE OF THIS ORDER

XXV.   IT IS FURTHER ORDERED that copies of this Order as well as the Motion

       for Temporary Restraining Order and all other pleadings, Documents, and

       exhibits filed contemporaneously with that Motion (other than the complaint

       and summons), may be served by any means, including facsimile transmission,

       electronic mail or other electronic messaging, personal or overnight delivery,

       U.S. Mail or FedEx, by agents and employees of the FTC, by any law

       enforcement agency, or by private process server, upon any Defendant or any

       person (including any financial institution) that may have possession, custody

       or control of any Asset or Document of any Defendant, or that may be subject

       to any provision of this Order pursuant to Rule 65(d)(2) of the Federal Rules of

       Civil Procedure. For purposes of this Section, service upon any branch,

       subsidiary, affiliate or office of any entity shall effect service upon the entire

       entity.




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                  CORRESPONDENCE AND SERVICE ON THE FTC

XXVI.    IT IS FURTHER ORDERED that, for the purpose of this Order, all

         correspondence and service of pleadings on the FTC shall be addressed to:

         Gregory A. Ashe, K. Michelle Grajales, and Julia E. Heald, Federal Trade

         Commission, 600 Pennsylvania Avenue NW, Room CC-10232, Washington,

         D.C. 20580, email: gashe@ftc.gov, mgrajales@ftc.gov, and jheald@ftc.gov.

                        PRELIMINARY INJUNCTION HEARING

XXVII.   IT IS FURTHER ORDERED that:

         A. The Motion for Temporary Restraining Order is also deemed to be a motion

            for a preliminary injunction order, and that the FTC is not required to file or

            serve a separate motion for a preliminary injunction in order to see the entry

            of a preliminary injunction under Federal Rule of Civil Procedure 65.

         B. The Court will consider all materials filed by the FTC in connection with the

            Motion for Temporary Restraining Order to have been filed in connection

            with the FTC’s motion for a preliminary injunction hearing. The FTC shall

            be permitted, but is not required, to file a supplemental brief and supporting

            exhibits in advance of any preliminary injunction hearing.

         C. Defendants wishing to be heard on this matter may appear in this Court, on

            the FTC’s motion for preliminary injunction, before the Honorable Judge

            Bernard A. Friedman, at 2:00 p.m. on Monday, June 6, 2022 in



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               Courtroom 110 of the United States District Court, Eastern District of

               Michigan, 231 W Lafayette Blvd, Detroit, Michigan 48226, to show

               cause, if there be any, why this Court should not enter a preliminary

               injunction and order preliminary relief against them, pursuant to Rule 65 of

               the Federal Rules of Civil Procedure, extending the temporary relief granted

               in this Order pending a final adjudication on the merits.

            D. This Order shall expire at 11:59 P.M. fourteen days following the entry of

               this order, unless otherwise ordered by this Court.

                                RETENTION OF JURISDICTION

XXVIII.        IT IS FURTHER ORDERED that this Court shall retain jurisdiction of

            this matter for all purposes.



               IT SO ORDERED,

                                                   s/Bernard A. Friedman
          Dated: May 24, 2022                      Bernard A. Friedman
                 Detroit, Michigan                 Senior United States District Judge




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            ATTACHMENT A
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                                              FEDERAL TRADE COMMISSION

                                 FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

    1. Complete all items. Enter “None” or “N/A” (“Not Applicable”) in the first field only of any item that does not apply
       to you. If you cannot fully answer a question, explain why.

    2. “Dependents” include your spouse, live-in companion, dependent children, or any other person, whom you or your
       spouse (or your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any
       time during the past five years.

    3. “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or any foreign country
       or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
       by others for the benefit of you, your spouse, or your dependents.

    4. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
       being continued. On the continuation page(s), identify the Item number(s) being continued.

    5. Type or print legibly.

    6. Initial each page in the space provided in the lower right corner.

    7. Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

          (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any ( . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information . . . knowing the same to contain any false material
declaration” (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.




                                                                     Federal Trade Commission Financial Statement of Individual Defendant
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                                                    BACKGROUND INFORMATION
Item 1. Information About You
Full Name                                                                   Social Security No.

Current Address of Primary Residence                                        Driver’s License No.                                            State Issued

                                                                            Phone Numbers                    Date of Birth:   /   /
                                                                            Home: (   )                                    (mm/dd/yyyy)
                                                                            Fax: (    )                      Place of Birth

   Rent      Own             From (Date):      /   /                        E-Mail Address
                                            (mm/dd/yyyy)
Internet Home Page


Previous Addresses for past five years (if required, use additional pages at end of form)
Address                                                                                              From:      /   /              Until:      /   /
                                                                                                             (mm/dd/yyyy)                   (mm/dd/yyyy)

                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:


Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name                                                     Social Security No.                  Date of Birth
                                                                                                                    /   /
                                                                                                                 (mm/dd/yyyy)
Address (if different from yours)                                           Phone Number                         Place of Birth
                                                                            (     )
                                                                                Rent    Own               From (Date):   /   /
                                                                                                                      (mm/dd/yyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:


Employer’s Name and Address                                                 Job Title

                                                                            Years in Present Job     Annual Gross Salary/Wages
                                                                                                     $


Item 3. Information About Your Previous Spouse
Name and Address                                                                                     Social Security No.

                                                                                                     Date of Birth
                                                                                                        /    /
                                                                                                     (mm/dd/yyyy)

Item 4. Contact Information (name and address of closest living relative other than your spouse)
Name and Address                                                                                     Phone Number
                                                                                                     (     )




                                                                                                                                               Initials:

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Item 5. Information About Dependents (whether or not they reside with you)
Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship

Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Item 6. Employment Information/Employment Income
Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
period. “Income” includes, but is not limited to, any salary, commissions, distributions, draws, consulting fees, loans, loan payments, dividends,
royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else
on your behalf.
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /
                                                                                                                    20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $



                                                                                                                                           Initials:

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Item 7. Pending Lawsuits Filed By or Against You or Your Spouse
List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or territory. Note: At Item 12, list lawsuits that resulted in final judgments or settlements in your favor. At Item 21, list lawsuits that
resulted in final judgments or settlements against you.
                                                                                                     Nature of                                        Status or
        Caption of Proceeding              Court or Agency and Location           Case No.                                 Relief Requested
                                                                                                    Proceeding                                       Disposition




Item 8. Safe Deposit Boxes
List all safe deposit boxes, located within the United States or in any foreign country or territory, whether held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.
         Name of Owner(s)                         Name & Address of Depository Institution                    Box No.                      Contents




                                                                                                                                              Initials:

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                                                         FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your “assets” and “liabilities” include ALL assets and liabilities, located within
the United States or in any foreign country or territory, or institution, whether held individually or jointly, and whether held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents. In addition, provide
all documents requested in Item 24 with your completed Financial Statement.
                                                                         ASSETS
Item 9. Cash, Bank, and Money Market Accounts
List cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term “cash on hand” includes but is not
limited to cash in the form of currency, uncashed checks, and money orders.

   a. Amount of Cash on Hand $                                              Form of Cash on Hand

   b. Name on Account                          Name & Address of Financial Institution                         Account No.                     Current Balance

                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




Item 10. Publicly Traded Securities
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. government securities (including
but not limited to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned


Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $




                                                                                                                                               Initials:

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Item 11. Non-Public Business and Financial Interests
List all non-public business and financial interests, including but not limited to any interest in a non-public corporation, subchapter-S corporation, limited
liability corporation (“LLC”), general or limited partnership, joint venture, sole proprietorship, international business corporation or personal investment
corporation, and oil or mineral lease.
                                                        Type of Business or Financial               Owner              Ownership     If Officer, Director, Member
            Entity’s Name & Address
                                                       Interest (e.g., LLC, partnership)     (e.g., self, spouse)         %             or Partner, Exact Title




Item 12. Amounts Owed to You, Your Spouse, or Your Dependents
Debtor’s Name & Address                                  Date Obligation          Original Amount Owed         Nature of Obligation (if the result of a final court
                                                      Incurred (Month/Year)      $                             judgment or settlement, provide court name
                                                                /                                              and docket number)
                                                      Current Amount Owed        Payment Schedule
                                                      $                          $
Debtor’s Telephone                                    Debtor’s Relationship to You


Debtor’s Name & Address                                   Date Obligation          Original Amount Owed        Nature of Obligation (if the result of a final court
                                                       Incurred (Month/Year)       $                           judgment or settlement, provide court name
                                                                 /                                             and docket number)
                                                      Current Amount Owed          Payment Schedule
                                                      $                            $
Debtor’s Telephone                                    Debtor’s Relationship to You


Item 13. Life Insurance Policies
List all life insurance policies (including endowment policies) with any cash surrender value.
Insurance Company’s Name, Address, & Telephone No.                    Beneficiary                                   Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Insurance Company’s Name, Address, & Telephone No.                   Beneficiary                                    Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Item 14. Deferred Income Arrangements
List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs,
other retirement accounts, and college savings plans (e.g., 529 Plans).
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.


                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                   (mm/dd/yyyy)                                    $
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.

                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                                                                   $



                                                                                                                                               Initials:

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Item 15. Pending Insurance Payments or Inheritances
List any pending insurance payments or inheritances owed to you.
Type                                                                                                      Amount Expected     Date Expected (mm/dd/yyyy)
                                                                                                      $                           /     /
                                                                                                      $                           /     /
                                                                                                      $                           /     /

Item 16. Vehicles
List all cars, trucks, motorcycles, boats, airplanes, and other vehicles.
Vehicle Type        Year            Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other intellectual property.

   Property Category
                                      Name of Owner                             Property Location                   Acquisition Cost             Current Value
 (e.g., artwork, jewelry)

                                                                                                                   $                        $


                                                                                                                   $                        $


                                                                                                                   $                        $




                                                                                                                                                Initials:

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Item 18. Real Property
List all real property interests (including any land contract)
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                          Monthly Rent Received
                                                                     $                                        $
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                        Monthly Rent Received
                                                                     $                                      $

                                                                        LIABILITIES
Item 19. Credit Cards
List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use,
whether issued by a United States or foreign financial institution.
 Name of Credit Card (e.g., Visa,
                                                      Account No.                            Name(s) on Account                     Current Balance
 MasterCard, Department Store)
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
Item 20. Taxes Payable
List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependents.

                           Type of Tax                                            Amount Owed                               Year Incurred
                                                                       $
                                                                       $
                                                                       $




                                                                                                                                       Initials:

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Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents
List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.
Lender/Creditor’s Name, Address, and Telephone No.         Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                           number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred         Original Amount Owed                 Current Amount Owed                  Payment Schedule
   /   /
(mm/dd/yyyy)                        $                                    $
Lender/Creditor’s Name, Address, and Telephone No. Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                     number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred             Original Amount Owed                     Current Amount Owed                 Payment Schedule
  /    /
(mm/dd/yyyy)                            $                                        $

                                                     OTHER FINANCIAL INFORMATION
Item 22. Trusts and Escrows
List all funds and other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held on your behalf by legal counsel. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity.
                                                    Date Established
 Trustee or Escrow Agent’s Name & Address                                 Grantor              Beneficiaries               Present Market Value of Assets*
                                                     (mm/dd/yyyy)
                                                      /    /                                                           $




                                                       /    /                                                          $




                                                       /    /                                                          $




*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.

Item 23. Transfers of Assets
List each person or entity to whom you have transferred, in the aggregate, more than $5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period.
                                                                                                          Transfer Date               Type of Transfer
Transferee’s Name, Address, & Relationship            Property Transferred        Aggregate Value*
                                                                                                          (mm/dd/yyyy)                (e.g., Loan, Gift)
                                                                                  $                        /   /




                                                                                  $                        /   /




                                                                                  $                        /   /



*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.


                                                                                                                                           Initials:

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Item 24. Document Requests
Provide copies of the following documents with your completed Financial Statement.

                Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
                dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
Item 9          For each bank account listed in Item 9, all account statements for the past 3 years.
                For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
Item 11         most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all
                general ledger files from account records.
                All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
Item 17         purposes. You may exclude any category of property where the total appraised value of all property in that category is
                less than $2,000.
Item 18         All appraisals that have been prepared for real property listed in Item 18.
Item 21         Documentation for all debts listed in Item 21.
                All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, including insurance
Item 22
                appraisals that have been done for any assets held by any such trust or in any such escrow.

                                               SUMMARY FINANCIAL SCHEDULES
Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents
Assets                                                                Liabilities
Cash on Hand (Item 9)                                       $         Loans Against Publicly Traded Securities (Item 10)             $
Funds Held in Financial Institutions (Item 9)               $         Vehicles - Liens (Item 16)                                     $
U.S. Government Securities (Item 10)                        $         Real Property – Encumbrances (Item 18)                         $
Publicly Traded Securities (Item 10)                        $         Credit Cards (Item 19)                                         $
Non-Public Business and Financial Interests (Item 11)       $         Taxes Payable (Item 20)                                        $
Amounts Owed to You (Item 12)                               $         Amounts Owed by You (Item 21)                                  $
Life Insurance Policies (Item 13)                           $         Other Liabilities (Itemize)
Deferred Income Arrangements (Item 14)                      $                                                                        $
Vehicles (Item 16)                                          $                                                                        $
Other Personal Property (Item 17)                           $                                                                        $
Real Property (Item 18)                                     $                                                                        $
Other Assets (Itemize)                                                                                                               $
                                                            $                                                                        $
                                                            $                                                                        $
                                                            $                                                                        $
                                        Total Assets        $         Total Liabilities                                              $
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly income and expenses for you, your spouse, and your dependents. Do not include credit card payments separately; rather,
include credit card expenditures in the appropriate categories.
Income (State source of each item)                                 Expenses
Salary - After Taxes                                               Mortgage or Rental Payments for Residence(s)
                                                        $                                                                                $
Source:
Fees, Commissions, and Royalties                                   Property Taxes for Residence(s)
                                                        $                                                                                $
Source:
Interest                                                           Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                        $          and Insurance                                                         $
Source:
Dividends and Capital Gains                                        Car or Other Vehicle Lease or Loan Payments
                                                        $                                                                                $
Source:
Gross Rental Income                                                Food Expenses
                                                        $                                                                                $
Source:
Profits from Sole Proprietorships                                  Clothing Expenses
                                                        $                                                                                $
Source:
Distributions from Partnerships, S-Corporations,                   Utilities
and LLCs                                                $                                                                                $
Source:


                                                                                                                                    Initials:

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Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)
Distributions from Trusts and Estates                                Medical Expenses, Including Insurance
                                                      $                                                                                    $
Source:
Distributions from Deferred Income Arrangements                      Other Insurance Premiums
                                                      $                                                                                    $
Source:
Social Security Payments                              $              Other Transportation Expenses                                         $
Alimony/Child Support Received                        $              Other Expenses (Itemize)
Gambling Income                                       $                                                                                    $
Other Income (Itemize)                                                                                                                     $
                                                      $                                                                                    $
                                                      $                                                                                    $
                                                      $                                                                                    $

                                     Total Income     $              Total Expenses                                                        $


                                                                ATTACHMENTS
Item 27. Documents Attached to this Financial Statement
List all documents that are being submitted with this financial statement. For any Item 24 documents that are not attached, explain why.

Item No. Document Relates To                                                            Description of Document




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:

_______________                                              ___________________________________
(Date)                                                       Signature




                                                                  10 of 10      Federal Trade Commission Financial Statement of Individual Defendant
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            ATTACHMENT B
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                                           FEDERAL TRADE COMMISSION

                            FINANCIAL STATEMENT OF CORPORATE DEFENDANT



Instructions:

1.      Complete all items. Enter “None” or "N/A" (“Not Applicable”) where appropriate. If you cannot fully answer a
        question, explain why.

2.      The font size within each field will adjust automatically as you type to accommodate longer responses.

3.      In completing this financial statement, “the corporation” refers not only to this corporation but also to each of its
        predecessors that are not named defendants in this action.

4.      When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.

6.      Type or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right corner.




Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

        (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information . . . knowing the same to contain any false
        material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.
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                                          BACKGROUND INFORMATION


Item 1.            General Information

Corporation’s Full Name ___________________________________________________________________________

Primary Business Address ______________________________________________________ From (Date) _________

Telephone No. _____________________________ Fax No. _____________________________

E-Mail Address________________________ Internet Home Page________________________

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

All predecessor companies for past five years:

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________


Item 2.            Legal Information

Federal Taxpayer ID No. _________________________ State & Date of Incorporation _________________________

State Tax ID No. ____________________ State ________________ Profit or Not For Profit _____________________

Corporation’s Present Status: Active ________________ Inactive _______________ Dissolved __________________

If Dissolved: Date dissolved _________________________ By Whom ______________________________________

Reasons _________________________________________________________________________________________

Fiscal Year-End (Mo./Day) ________________ Corporation’s Business Activities _____________________________


Item 3.            Registered Agent

Name of Registered Agent __________________________________________________________________________

Address __________________________________________________________ Telephone No. __________________




          Page 2                                                                          Initials __________
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Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

                                            Name & Address                                                  % Owned

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________


Item 5.            Board Members

List all members of the corporation’s Board of Directors.

                                   Name & Address                                        % Owned      Term (From/Until)

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________


Item 6.            Officers

List all of the corporation’s officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  % Owned

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________




          Page 3                                                                            Initials __________
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Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

                                  Name & Address                                        Business Activities        % Owned

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

State which of these businesses, if any, has ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

 Individual’s Name                       Business Name & Address                         Business Activities       % Owned

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

State which of these businesses, if any, have ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 9.            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

                            Name and Address                                  Relationship           Business Activities

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________




          Page 4                                                                             Initials __________
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Item 10.          Outside Accountants

List all outside accountants retained by the corporation during the last three years.

           Name                    Firm Name                                  Address                       CPA/PA?

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________


Item 11.          Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years.

                              Name, Address, & Telephone Number                                      Position(s) Held

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________


Item 12.          Attorneys

List all attorneys retained by the corporation during the last three years.

           Name                        Firm Name                                        Address

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________




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Item 13.         Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


        Page 6                                                                             Initials __________
      Case 2:22-cv-11120-BAF-APP ECF No. 10, PageID.2299 Filed 05/24/22 Page 65 of 78


Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


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Item 15.         Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _________________ Termination Date _________________ Docket No. __________________

If State Court: Court & County _______________________ If Federal Court: District __________________________

Disposition ______________________________________________________________________________________


Item 16.                  Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name              Name & Address of Depository Institution                                                   Box No.

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________




                                               FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17.         Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns.

  Federal/       Tax Year      Tax Due        Tax Paid      Tax Due        Tax Paid               Preparer’s Name
 State/Both                    Federal        Federal        State          State

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________




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Item 18.         Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and for the current
fiscal year-to-date. Attach copies of all statements, providing audited statements if available.

   Year      Balance Sheet     Profit & Loss Statement     Cash Flow Statement Changes in Owner’s Equity Audited?

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

Item 19.         Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.
                             Current Year-to-Date          1 Year Ago              2 Years Ago             3 Years Ago
 Gross Revenue             $_________________         $_______________        $_______________         $_______________
 Expenses                  $_________________         $_______________        $_______________         $_______________
 Net Profit After Taxes    $_________________         $_______________        $_______________         $_______________
 Payables                  $_________________
 Receivables               $_________________

Item 20.         Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term “cash” includes currency and uncashed checks.

Cash on Hand $_________________________ Cash Held for the Corporation’s Benefit $_______________________

  Name & Address of Financial Institution                Signator(s) on Account             Account No.
                                                                                         Current
                                                                                         Balance
_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________




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Item 21.          Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________


Item 22.          Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________



Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________




        Page 10                                                                                Initials __________
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Item 23.          Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Category                               Property Location                       Acquisition      Current
                                                                                                     Cost           Value

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________


Item 24.          Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

           Trustee or Escrow Agent’s                      Description and Location of Assets               Present Market
                Name & Address                                                                             Value of Assets

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________




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Item 25.          Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



Item 26.          Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit_______________________________________ Date______________ Amount $______________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



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Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency ___________________________________________ Contact Person __________________________

Address _____________________________________________________________ Telephone No. _______________

Agreement Date ______________ Nature of Agreement __________________________________________________


Item 28.          Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals authorized to use them.

           Name of Credit Card or Store                         Names of Authorized Users and Positions Held

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________


Item 29.          Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago     2 Years Ago             Compensation or
                                       Year-to-Date                                             Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________




        Page 13                                                                            Initials __________
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Item 30.          Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago      2 Years Ago             Compensation or
                                       Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee’s Name, Address, & Relationship           Property           Aggregate       Transfer      Type of Transfer
                                                     Transferred          Value           Date         (e.g., Loan, Gift)


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________




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Item 32.          Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

 Item No. Document       Description of Document
     Relates To

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________




        I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

______________________________                    _____________________________________________________
(Date)                                            Signature


                                                  _____________________________________________________
                                                  Corporate Position




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            ATTACHMENT C
          Case 2:22-cv-11120-BAF-APP ECF No. 10, PageID.2309 Filed 05/24/22 Page 75 of 78

Form     4506                                                   Request for Copy of Tax Return
(July 2017)                                       a Do   not sign this form unless all applicable lines have been completed.                        OMB No. 1545-0429
                                                        a Request  may be rejected if the form is incomplete or illegible.
Department of the Treasury
                                                     a For more information about Form 4506, visit www.irs.gov/form4506.
Internal Revenue Service

Tip. You may be able to get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript for many returns free of charge. The transcript
provides most of the line entries from the original tax return and usually contains the information that a third party (such as a mortgage company)
requires. See Form 4506-T, Request for Transcript of Tax Return, or you can quickly request transcripts by using our automated self-help service
tools. Please visit us at IRS.gov and click on “Get a Tax Transcript...” or call 1-800-908-9946.

   1a Name shown on tax return. If a joint return, enter the name shown first.                         1b First social security number on tax return,
                                                                                                          individual taxpayer identification number, or
                                                                                                          employer identification number (see instructions)


   2a If a joint return, enter spouse’s name shown on tax return.                                      2b Second social security number or individual
                                                                                                          taxpayer identification number if joint tax return


   3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)



   4 Previous address shown on the last return filed if different from line 3 (see instructions)



   5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party’s name, address, and telephone number.



Caution: If the tax return is being mailed to a third party, ensure that you have filled in lines 6 and 7 before signing. Sign and date the form once you
have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return to the third party listed on line
5, the IRS has no control over what the third party does with the information. If you would like to limit the third party's authority to disclose your return
information, you can specify this limitation in your written agreement with the third party.

   6      Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
          schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
          destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
          type of return, you must complete another Form 4506. a
          Note: If the copies must be certified for court or administrative proceedings, check here .          .   .    .   .   .   .   .   .   .   .   .    .   .   .
   7      Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than
          eight years or periods, you must attach another Form 4506.




   8      Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
          be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN, ITIN,
          or EIN and “Form 4506 request” on your check or money order.
    a     Cost for each return . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  $                     50.00
     b    Number of returns requested on line 7 . . . . . . . . . . . . . . . . . . . . . .
     c    Total cost. Multiply line 8a by line 8b . . . . . . . . . . . . . . . . . . . . . .                                         $
   9      If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here .           .    .   .   .
Caution: Do not sign this form unless all applicable lines have been completed.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I certify that I have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.
     Signatory attests that he/she has read the attestation clause and upon so reading
     declares that he/she has the authority to sign the Form 4506. See instructions.                                            Phone number of taxpayer on line
                                                                                                                                1a or 2a
              F F F




Sign                  Signature (see instructions)                                                  Date
Here
                      Title (if line 1a above is a corporation, partnership, estate, or trust)


                      Spouse’s signature                                                            Date
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                       Cat. No. 41721E                           Form 4506 (Rev. 7-2017)
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Section references are to the Internal Revenue Code       Chart for all other returns                                 Corporations. Generally, Form 4506 can be
unless otherwise noted.                                                                                            signed by: (1) an officer having legal authority to bind
                                                          If you lived in                                          the corporation, (2) any person designated by the
Future Developments                                       or your business              Mail to:                   board of directors or other governing body, or (3)
For the latest information about Form 4506 and its        was in:                                                  any officer or employee on written request by any
instructions, go to www.irs.gov/form4506.                                                                          principal officer and attested to by the secretary or
Information about any recent developments affecting       Alabama, Alaska,                                         other officer. A bona fide shareholder of record
Form 4506, Form 4506-T and Form 4506T-EZ will be          Arizona, Arkansas,                                       owning 1 percent or more of the outstanding stock
posted on that page.                                      California, Colorado,                                    of the corporation may submit a Form 4506 but must
                                                          Florida, Hawaii, Idaho,                                  provide documentation to support the requester's
                                                                                                                   right to receive the information.
General Instructions                                      Iowa, Kansas, Louisiana,
                                                          Minnesota, Mississippi,                                    Partnerships. Generally, Form 4506 can be
Caution: Do not sign this form unless all applicable      Missouri, Montana,                                       signed by any person who was a member of the
lines have been completed.                                Nebraska, Nevada,                                        partnership during any part of the tax period
Purpose of form. Use Form 4506 to request a copy          New Mexico,                                              requested on line 7.
                                                                                        Internal Revenue Service
of your tax return. You can also designate (on line 5)    North Dakota,                                               All others. See section 6103(e) if the taxpayer has
                                                                                        RAIVS Team
a third party to receive the tax return.                  Oklahoma, Oregon,                                        died, is insolvent, is a dissolved corporation, or if a
                                                                                        P.O. Box 9941
                                                          South Dakota, Texas,                                     trustee, guardian, executor, receiver, or
How long will it take? It may take up to 75                                             Mail Stop 6734
                                                          Utah, Washington,                                        administrator is acting for the taxpayer.
calendar days for us to process your request.                                           Ogden, UT 84409
                                                          Wyoming, a foreign
Tip. Use Form 4506-T, Request for Transcript of Tax       country, American                                        Note: If you are Heir at law, Next of kin, or
Return, to request tax return transcripts, tax account    Samoa, Puerto Rico,                                      Beneficiary you must be able to establish a material
information, W-2 information, 1099 information,           Guam, the                                                interest in the estate or trust.
verification of nonfiling, and records of account.        Commonwealth of the                                      Documentation. For entities other than individuals,
                                                          Northern Mariana                                         you must attach the authorization document. For
Automated transcript request. You can quickly
                                                          Islands, the U.S. Virgin                                 example, this could be the letter from the principal
request transcripts by using our automated self-help
                                                          Islands, or A.P.O. or                                    officer authorizing an employee of the corporation or
service tools. Please visit us at IRS.gov and click on
                                                          F.P.O. address                                           the letters testamentary authorizing an individual to
“Get a Tax Transcript...” or call 1-800-908-9946.
                                                                                                                   act for an estate.
Where to file. Attach payment and mail Form 4506          Connecticut, Delaware,
to the address below for the state you lived in, or the   District of Columbia,                                    Signature by a representative. A representative
state your business was in, when that return was          Georgia, Illinois, Indiana,                              can sign Form 4506 for a taxpayer only if this
filed. There are two address charts: one for              Kentucky, Maine,                                         authority has been specifically delegated to the
individual returns (Form 1040 series) and one for all     Maryland,                                                representative on Form 2848, line 5. Form 2848
other returns.                                            Massachusetts,                Internal Revenue Service   showing the delegation must be attached to Form
                                                          Michigan, New                 RAIVS Team                 4506.
   If you are requesting a return for more than one
year or period and the chart below shows two              Hampshire, New Jersey,        P.O. Box 145500
                                                          New York, North               Stop 2800 F                Privacy Act and Paperwork Reduction Act
different addresses, send your request to the
                                                          Carolina,                     Cincinnati, OH 45250       Notice. We ask for the information on this form to
address based on the address of your most recent
                                                          Ohio, Pennsylvania,                                      establish your right to gain access to the requested
return.
                                                          Rhode Island, South                                      return(s) under the Internal Revenue Code. We need
Chart for individual returns                              Carolina, Tennessee,                                     this information to properly identify the return(s) and
                                                          Vermont, Virginia, West                                  respond to your request. If you request a copy of a
(Form 1040 series)                                        Virginia, Wisconsin                                      tax return, sections 6103 and 6109 require you to
If you filed an                                                                                                    provide this information, including your SSN or EIN,
                                                                                                                   to process your request. If you do not provide this
individual return             Mail to:
and lived in:
                                                          Specific Instructions                                    information, we may not be able to process your
                                                                                                                   request. Providing false or fraudulent information
                                                          Line 1b. Enter your employer identification number       may subject you to penalties.
Alabama, Kentucky,                                        (EIN) if you are requesting a copy of a business
Louisiana, Mississippi,                                   return. Otherwise, enter the first social security           Routine uses of this information include giving it to
Tennessee, Texas, a                                       number (SSN) or your individual taxpayer                 the Department of Justice for civil and criminal
foreign country, American     Internal Revenue Service    identification number (ITIN) shown on the return. For    litigation, and cities, states, the District of Columbia,
Samoa, Puerto Rico,           RAIVS Team                  example, if you are requesting Form 1040 that            and U.S. commonwealths and possessions for use
Guam, the                     Stop 6716 AUSC              includes Schedule C (Form 1040), enter your SSN.         in administering their tax laws. We may also
Commonwealth of the           Austin, TX 73301                                                                     disclose this information to other countries under a
Northern Mariana Islands,                                 Line 3. Enter your current address. If you use a P.O.    tax treaty, to federal and state agencies to enforce
the U.S. Virgin Islands, or                               box, please include it on this line 3.                   federal nontax criminal laws, or to federal law
A.P.O. or F.P.O. address                                  Line 4. Enter the address shown on the last return       enforcement and intelligence agencies to combat
                                                          filed if different from the address entered on line 3.   terrorism.
Alaska, Arizona,
Arkansas, California,                                     Note: If the addresses on lines 3 and 4 are different      You are not required to provide the information
Colorado, Hawaii, Idaho,                                  and you have not changed your address with the           requested on a form that is subject to the Paperwork
Illinois, Indiana, Iowa,                                  IRS, file Form 8822, Change of Address. For a            Reduction Act unless the form displays a valid OMB
Kansas, Michigan,             Internal Revenue Service    business address, file Form 8822-B, Change of            control number. Books or records relating to a form
Minnesota, Montana,           RAIVS Team                  Address or Responsible Party — Business.                 or its instructions must be retained as long as their
Nebraska, Nevada, New         Stop 37106                                                                           contents may become material in the administration
                                                          Signature and date. Form 4506 must be signed and         of any Internal Revenue law. Generally, tax returns
Mexico, North Dakota,         Fresno, CA 93888            dated by the taxpayer listed on line 1a or 2a. The
Oklahoma, Oregon,                                                                                                  and return information are confidential, as required
                                                          IRS must receive Form 4506 within 120 days of the        by section 6103.
South Dakota, Utah,                                       date signed by the taxpayer or it will be rejected.
Washington, Wisconsin,                                    Ensure that all applicable lines are completed before      The time needed to complete and file Form 4506
Wyoming                                                   signing.                                                 will vary depending on individual circumstances. The
                                                                                                                   estimated average time is: Learning about the law
Connecticut,

                                                          F
                                                                      You must check the box in the                or the form, 10 min.; Preparing the form, 16 min.;
Delaware, District of
Columbia, Florida,
Georgia, Maine,
                                                          !           signature area to acknowledge you
                                                                      have the authority to sign and request
                                                           CAUTION the information. The form will not be
                                                                                                                   and Copying, assembling, and sending the form
                                                                                                                   to the IRS, 20 min.
                                                                                                                     If you have comments concerning the accuracy of
Maryland,                     Internal Revenue Service    processed and returned to you if the box is              these time estimates or suggestions for making
Massachusetts,                RAIVS Team                                                                           Form 4506 simpler, we would be happy to hear from
Missouri, New                 Stop 6705 P-6               unchecked.
                                                                                                                   you. You can write to:
Hampshire, New Jersey,        Kansas City, MO               Individuals. Copies of jointly filed tax returns may
New York, North                                                                                                      Internal Revenue Service
                              64999                       be furnished to either spouse. Only one signature is
Carolina, Ohio,                                                                                                      Tax Forms and Publications Division
                                                          required. Sign Form 4506 exactly as your name
Pennsylvania, Rhode                                                                                                  1111 Constitution Ave. NW, IR-6526
                                                          appeared on the original return. If you changed your
Island, South Carolina,                                                                                              Washington, DC 20224.
                                                          name, also sign your current name.
Vermont, Virginia, West
Virginia                                                                                                            Do not send the form to this address. Instead, see
                                                                                                                   Where to file on this page.
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            ATTACHMENT D
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                      CONSENT TO RELEASE FINANCIAL RECORDS

 I, ____________________________________, of ________________________

 ___________________________________________ (City, State), do hereby direct any bank,

 saving and loan association, credit union, depository institution, finance company, commercial

 lending company, credit card processor, credit card processing entity, automated clearing house,

 network transaction processor, bank debit processing entity, brokerage house, escrow agent,

 money market or mutual fund, title company, commodity trading company, trustee, or person

 that holds, controls, or maintains custody of assets, wherever located, that are owned or

 controlled by me or at which there is an account of any kind upon which I am authorized to

 draw, and its officers, employees, and agents, to disclose all information and deliver copies of all

 documents of very nature in its possession or control which relate to the said accounts to any

 attorney of the Federal Trade Commission, and to give evidence relevant thereto, in the matter of

 the Federal Trade Commission v. Financial Education Services, Inc., et al., now pending in the

 United States District Court for the Eastern District of Michigan, and this shall be irrevocable

 authority for so doing.

        This direction is intended to apply to the laws of countries other than the Unites States of

 America which restrict or prohibit disclosure of bank or other financial information without the

 consent of the holder of the account, and shall be construed as consent with respect hereto, and

 the same shall apply to any of the accounts for which I may be a relevant principal.



 Dated:____________________________            Signature:_________________________________

                                               Printed Name:______________________________
